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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

  UNITED STATES OF AMERICA                                                     NOTICE OF APPEAL

                                         Plaintiff,                            Civil Action No. 23-CV-7173

           v.                                                                         (Merchant, J.)
                                                                                      (Bloom, M.J.)
  EBAY, INC.

                                          Defendant.
  - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

           The United States of America appeals to the United States Court of Appeals for the

  Second Circuit from the judgment entered on September 30, 2024.

  Dated: Brooklyn, New York
         November 26, 2024

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